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1      BOIES SCHILLER FLEXNER LLP                                 SUSMAN GODFREY L.L.P.
       David Boies (admitted pro hac vice)                        Bill Carmody (admitted pro hac vice)
2      333 Main Street                                            Shawn J. Rabin (admitted pro hac vice)
       Armonk, NY 10504                                           Steven M. Shepard (admitted pro hac vice)
3
       Tel: (914) 749-8200                                        Alexander Frawley (admitted pro hac vice)
4      dboies@bsfllp.com                                          Ryan Sila (admitted pro hac vice)
                                                                  1301 Avenue of the Americas, 32nd Floor
       Mark C. Mao, CA Bar No. 236165
5                                                                 New York, NY 10019
       Beko Reblitz-Richardson, CA Bar No.
                                                                  Tel.: (212) 336-8330
6      238027
                                                                  bcarmody@susmangodfrey.com
       44 Montgomery St., 41st Floor
7                                                                 srabin@susmangodfrey.com
       San Francisco, CA 94104
                                                                  sshepard@susmangodfrey.com
       Tel.: (415) 293-6800
8                                                                 afrawley@susmangodfrey.com
       mmao@bsfllp.com
                                                                  rsila@susmangodfrey.com
9      brichardson@bsfllp.com
                                                                  Amanda K. Bonn, CA Bar No. 270891
       James Lee (admitted pro hac vice)
10                                                                1900 Avenue of the Stars, Suite 1400
       Rossana Baeza (admitted pro hac vice)
                                                                  Los Angeles, CA 90067
11     100 SE 2nd St., 28th Floor
                                                                  Tel.: (310) 789-3100
       Miami, FL 33131
                                                                  abonn@susmangodfrey.com
12     Tel.: (305) 539-8400
       jlee@bsfllp.com                                            MORGAN & MORGAN
13     rbaeza@bsfllp.com                                          John A. Yanchunis (admitted pro hac vice)
                                                                  Ryan J. McGee (admitted pro hac vice)
14     Alison L. Anderson, CA Bar No. 275334
                                                                  Michael F. Ram, CA Bar No. 104805
       M. Logan Wright, CA Bar No. 349004
15                                                                201 N. Franklin Street, 7th Floor
       725 S Figueroa St., 31st Floor
                                                                  Tampa, FL 33602
       Los Angeles, CA 90017
16                                                                Tel.: (813) 223-5505
       Tel.: (213) 995-5720
                                                                  jyanchunis@forthepeople.com
17     alanderson@bsfllp.com
                                                                  rmcgee@forthepeople.com
       mwright@bsfllp.com
                                                                  mram@forthepeople.com
18
                                      UNITED STATES DISTRICT COURT
19                                  NORTHERN DISTRICT OF CALIFORNIA
20
        ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21      JULIAN SANTIAGO, and SUSAN LYNN
        HARVEY individually and on behalf of all                  DECLARATION OF JOHN A.
22      other similarly situated,                                 YANCHUNIS IN SUPPORT OF
                                                                  PLAINTIFFS’ MOTION FOR CLASS
23                        Plaintiffs,                             CERTIFICATION
         v.
24
                                                                  Judge: Hon. Richard Seeborg
25      GOOGLE LLC,                                               Courtroom 3 – 17th Floor
                                                                  Date: October 5, 2023
26                        Defendant.                              Time: 1:30 p.m.
27

28

        __________________________________________________________________________________________________________________
                    YANCHUNIS DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1                                 DECLARATION OF JOHN A. YANCHUNIS

2             I, John A. Yanchunis, declare as follows.

3             1.       I am a partner with the law firm of Morgan and Morgan, P.A., counsel for Plaintiffs

4     in this matter. I am an attorney at law duly licensed to practice before all courts of the state of

5     Florida (admitted 1981), as well as the state of Texas (admitted 1980), and admitted pro hac vice

6     in this case (Dkt. 14). I have personal knowledge of the matters set forth herein and am competent

7     to testify.

8             2.       I submit this Declaration in support of Plaintiffs’ motion for class certification and

9     appointment of Plaintiffs as representatives for the Class and the appointment of Morgan &

10    Morgan, along with the firms of Boies Schiller Flexner LLP and Susman Godfrey as Counsel for

11    the Class.

12            A.       Counsel Have Invested Significant Resources into Investigating Google’s
                       Unlawful Behavior and Litigating this Case.
13
              3.       The three law firms representing Plaintiffs, Boies Schiller Flexner, LLP, Morgan
14
      & Morgan, and Susman Godfrey LLP (collectively, “Counsel”), have collectively invested
15
      significant resources into investigating and litigating this case since its inception. Counsel have
16
      invested substantial resources and time in the investigation of the factual baes and development of
17
      legal foundation for claims against Google. While ensuring efficiency, no expense has been spared
18
      in the litigation. Among other things, they have:
19
              •     Identified and investigated the technological means by which Google surreptitiously
20
                    and illegally tracks consumers.
21
              •     Analyzed Google’s disclosures regarding Web & App Activity.
22
              •     Investigated past allegations of Google’s violations of privacy interests.
23
              •     Consulted with technology experts to assist in developing the case.
24
              •     Consulted with financial experts to assist in developing the case.
25
              •     Consulted with notice and administration experts to assist in developing the case.
26
              •     Researched and analyzed potential legal claims against Google.
27

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1             •    Evaluated numerous potential class representatives.

2             4.       Since filing the initial complaint, Counsel has diligently pursued discovery into

3     Google’s misconduct. Google initially proposed only three document custodians. Through a

4     combination of negotiations and Court intervention, Counsel secured an additional 25 Google

5     custodians. Counsel similarly secured key search terms. Counsel’s efforts, including the filing of

6     numerous discovery dispute letter briefs, have resulted in Google producing tens of thousands of

7     documents spanning over two million pages. Counsel also served 285 RFPs, 25 Interrogatories

8     and 52 RFAs, resulting in Plaintiffs taking 15 depositions of fact witnesses after successfully

9     moving to increase the presumptive ten-deposition limit. Counsel at the same time vigorously

10    pursued production of relevant data, and retained and onboarded 30 consultants and experts to

11    assist with day-to-day review of discovery and prepare reports.

12            B.       Morgan & Morgan Has Substantial Expertise in Privacy Litigation, High-
                       Profile Class Actions, and Litigating Complex Technology Cases Against
13                     Google.
14            5.       Morgan & Morgan brings to bear unparalleled expertise litigating privacy class
15    actions. Morgan & Morgan is a leading civil trial law firm representing consumers and commercial
16    clients nationwide. With over 900 lawyers, and more than 3,000 non-lawyer employees, Morgan
17    & Morgan is the largest plaintiffs’ firm in the nation. Morgan & Morgan maintains offices
18    throughout the United States, including in San Francisco and Los Angeles. Among its lawyers are
19    former state attorney generals and present and former members of various state legislatures. It is
20    self-funded and brings the financial resources and manpower needed to litigate this case.
21            6.       Morgan & Morgan has a dedicated Complex Litigation Group staffed with
22    lawyers, paralegals, and retired FBI agents serving as investigators committed to representing
23    consumers in complex litigation, MDL proceedings and class action cases throughout the country.
24    It has achieved many remarkable results in class litigation, including the settlement of In re Black
25    Farmers Discrimination Litigation, no. 08-0511 (D.C. Oct. 27, 2017), where one of its partners
26    served as co-lead. The case resulted in a settlement with the United States Government in the
27

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1     amount of $1.2 billion for African American farmers who had been systematically discriminated

2     against on the basis of race, in violation of the Fifth Amendment to the United States Constitution,

3     the Equal Credit Opportunity Act, Title VI of the Civil Rights Act, and the Administrative

4     Procedure Act. Morgan & Morgan has assembled a talented team of lawyers in its class action

5     practice group.

6             7.        The Morgan and Morgan lawyers working on this matter include myself, Michael

7     F. Ram, Keith Mitnik, Jean Sutton Martin, Ryan J. McGee, Marie Noel Appel, Ra. O. Amen, and

8     David Reign, a former FBI agent who came to work for me after the day of his retirement from

9     the FBI as an Assistant Special Agent in Charge.

10            8.        I, John A. Yanchunis lead the class action section of the law firm. My practice—

11    which began after completing a two-year clerkship with United States District Judge Carl O. Bue,

12    Jr., S. D. Tex.—has concentrated on complex litigation and spans over 40 years, including

13    consumer class actions for more than two-thirds of that time.

14            9.        Alongside my experience in the area of privacy, I have also served as lead, co-lead,

15    and class counsel in numerous national class actions, including multi-district litigation, involving

16    a wide range of subjects affecting consumers, including antitrust, defective products, life

17    insurance, annuities, and deceptive and unfair acts and practices. In 2014 and 2020, I was

18    recognized by the National Law Journal as a trailblazer in the area of privacy litigation, and in

19    2020, I have been twice recognized by Law360 as one of four MVPs in the area of privacy and

20    cyber security litigation. For my work in the area of privacy litigation, I was awarded Florida

21    Lawyer of the Year in 2020 by The Daily Business Review. In 2023, The Florida Bar named me

22    as Consumer Protection Attorney of the Year. In 2023, and in recognition of my work in the areas

23    of data privacy and cyber security, the President of The Florida Bar appointed me to serve on the

24    newly formed committee of The Florida Bar to address issues relating to data privacy and cyber

25    security.

26            10.       As a result of my experience in an earlier part of my career in insurance and

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1     complex litigation, beginning in 2005, I was selected by Tom Gallagher, the Chief Financial

2     Officer for the state of Florida and a member of the Florida Cabinet, to serve as lead counsel for

3     the Florida Department of Financial Services and the Florida Department of Insurance Regulation

4     (the insurance regulators of Florida) in their investigations of the insurance industry on issues

5     concerning possible antitrust activity and other possible unlawful activities regarding the payment

6     of undisclosed compensation to insurance brokers. I served as lead regulator counsel and worked

7     with a core group of state Attorneys General from the National Association of Attorneys General,

8     which were selected to conduct the investigations. The insurance regulator for Florida was the

9     only insurance regulator in the group. The litigation that was filed and the related investigations

10    netted millions of dollars in restitution for Florida consumers and resulted in significant changes

11    in the way commercial insurance is sold in Florida and across the country.

12            11.      During my career, I have tried numerous cases in state and federal courts, including

13    class cases, and one of the largest and longest insurance coverage cases in U.S. history, which was

14    filed in 1991 by the Celotex Corporation and its subsidiary, Carey Canada, Inc. During the

15    seventeen years the case pended, I served as lead counsel for several insurance companies,

16    regarding coverage for asbestos and environmental claims. The case was tried in three phases over

17    several years beginning in 1992. I was also lead counsel for these parties in the subsequent appeals

18    that followed a judgment in favor of my clients.

19            12.      I began my work in privacy litigation in 1999 with the filing of In re Doubleclick

20    Inc. Privacy Litigation, 154 F. Supp. 2d 497 (S.D.N.Y. 2001), alleging privacy violations based

21    on the placement of cookies on hard drives of internet users. Beginning in 2003, I served as co-

22    Lead Counsel in the successful prosecution and settlement of privacy class action cases involving

23    the protection of privacy rights of more than 200 million consumers under the Driver’s Protection

24    Privacy Act (DPPA) against the world’s largest data and information brokers, including Experian,

25    R.L. Polk, Acxiom, and Reed Elsevier (which owns Lexis/Nexis). See Fresco v. Automotive

26    Directions, Inc., No. 03-61063-JEM (S.D. Fla.), and Fresco v. R.L. Polk, No. 07-cv-60695-JEM

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1     (S.D. Fla.). Subsequently, I served as co-Lead Counsel in the DPPA class cases, Davis v. Bank of

2     America, No. 05-cv-80806 (S.D. Fla.) ($10 million class settlement), and Kehoe v. Fidelity Fed.

3     Bank and Trust, No. 03-cv-80593 (S.D. Fla.) ($50 million class settlement).

4             13.      I have been appointed and served in leadership positions a number of multidistrict

5     litigation in the area of privacy and data breaches: In re: Capital One Consumer Data Security

6     Breach Litigation, No. 1:19-MD-2915-AJT (E.D. Va.) (Co- Lead) (Final approval for settlement

7     of a class for $190 million granted on September 13, 2022); In re Yahoo! Inc. Customer Data

8     Security Breach Litigation, No. 5:16-MD-02752-LHK (N.D. Cal.) (“Yahoo”) (Lead Counsel)

9     (Final approval for settlement of a class for $117.5 million for approximately 194 million US

10    residents and 270,000 Israeli citizens; affirmed by the Ninth Circuit in July 2022); In re The Home

11    Depot, Inc. Consumer Data Security Data Breach Litigation, No. 1:14-md-02583-TWT (N.D.

12    Ga.) (Co-Lead Counsel) (Final approval for settlement of a class of 40 million consumers for a

13    total value of $29,025,000); In Re: Equifax, Inc. Customer Data Security Breach Litigation, 1:17-

14    md-2800-TWT (N.D. Ga.) (member of the Plaintiffs’ Steering Committee) (Final approval for

15    settlement of $380.5 million fund for 145 million consumers with injunctive relief increasing the

16    value above $1 billion; affirmed by the Eleventh Circuit in 2022); In re: U.S. Office of Personnel

17    Management Data Security Breach Litigation, 1:15-mc-01394-ABJ (D.D.C.) (“OPM”) (member

18    of the Executive Committee) (Final approval of settlement of a class for $63 million granted on

19    October 26, 2022); and In re Target Corp. Customer Data Security Breach Litigation, MDL No.

20    2522 (D. Minn.) (Executive Committee member) (Final approval of settlement of a class of

21    approximately 100 million consumers).

22            14.      My court-appointed leadership experience in non-MDL, data breach class actions

23    is likewise significant, including: Brown v. Google LLC, No. 4:20-cv-03664 (N.D. Cal.) (Co-Lead

24    Counsel) (Rule 23(b)(2) injunctive class certified for millions of U.S. residents; Rule 23(c)(4)

25    issues classes briefed and pending decision; trial set for November 2023); Adkins v. Facebook,

26    Inc., No. 3:18-cv-05982 (N.D. Cal.) (Co-Lead Counsel) (“Facebook”) (Rule 23(b)(2) injunctive

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1     class certified for 8 million U.S. residents, subsequent settlement of the class finally approved by

2     the court in July 2021). Also, to name just a few more cases for illustrative purposes: In re: Citrix

3     Data Breach Litigation, No. 19-cv-61350 (S.D. Fla.) (Final approval of class action settlement

4     entered); Henderson v. Kalispell Regional Healthcare, No. CDV-19-0761 (Montana Eighth

5     Judicial Court – Cascade County) (final approval of class settlement entered January 5, 2021);

6     Nelson v. Roadrunner Transportation Systems, Inc., 18-cv-7400 (N.D. Ill.) (final approval of class

7     action settlement entered September 15, 2020); Kuss v. American HomePatient, Inc., et al., 18-

8     cv-2348 (M.D. Fla.) (final approval of class action settlement entered on August 13, 2020);

9     Fulton-Green v. Accolade, Inc., 18-cv-274 (E.D. Pa.) (final approval of class action settlement

10    entered September 23, 2019); Walters v. Kimpton Hotel & Restaurant, No. 3:16-cv-05387 (N.D.

11    Cal.) (“Kimpton”) (Lead Counsel) (class action settlement final approval order entered July 11,

12    2019); In re: Arby’s Restaurant Group, Inc. Data Security Litigation, Nos. 1:17-cv-514 and 1:17-

13    cv-1035 (N.D. Ga.) (co-Liaison Counsel) (final approval of a class settlement entered June 6,

14    2019); and Jackson, et al., v. Wendy’s International, LLC, No. 6:16-cv-210-PGB (M.D. Fla.)

15    (final approval of a class settlement entered February 26, 2019).

16            15.      My experience in privacy litigation extends far beyond simply briefing threshold

17    issues and negotiating settlements. Rather, I have personally deposed dozens of corporate

18    representatives, software engineers, cyber professionals and CISOs in major data breach cases

19    such as Capital One, Yahoo, Kimpton, and Facebook. In addition, I have defended experts used

20    in these cases and also deposed defense liability and damage experts.

21            16.      As result of my experience in the area of class litigation and ethics, I have served

22    as an expert for The Florida Bar on ethical issues arising in class action litigation.

23            17.      I am a frequent lecturer on privacy and class litigation nationally and

24    internationally, including at international conferences, having presented at the University of

25    Haifa’s 2019 Class Action Conference, in Haifa, Israel, attended by lawyers, judges and law

26    professors from around the world. In 2020 I lectured on data privacy in Mexico, and in November

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1     2020 and 2021 I presented on data privacy to an international group of lawyers, judges, and

2     professors at a symposium in London sponsored by the London Law Society. I was a featured

3     speaker on privacy and class action issues in 2022 at two different symposiums in Amsterdam

4     sponsored by universities and one London, and two seminars on privacy and cyber security issues

5     in the United States. I am scheduled as a speaker on topics related to data privacy in the fall at two

6     different symposiums in London, and at yet another symposium set in April 2024 in London.

7     Presently I am developing a two-day symposium on data privacy set to be held in Rome in 2024.

8             18.      Michael F. Ram. Mr. Ram is a consumer class action lawyer with 40 years of

9     experience. He graduated cum laude from Harvard Law School in 1982. He has co-tried several

10    class action trials and frequently lectures on class trials. In 1992 he was a co-recipient of the Trial

11    Lawyer of the Year Award given by Trial Lawyers for Public Justice for National Association of

12    Radiation Survivors v. Walters No. 83-c-1861 (N.D. Cal.) (tried to class-wide judgment on remand

13    from Supreme Court). Mr. Ram recently settled the matter of McAdams v. Monier, Inc., 182 Cal.

14    App. 4th 174, which he tried to a class verdict and defended on appeal for a $44 million resolution.

15            19.      From 1993 through 1997, Mr. Ram was a partner with Lieff, Cabraser, Heimann

16    and Bernstein where he represented plaintiffs in several major class actions, including: Cox v.

17    Shell, Civ. No 18,844 (Obion County Chancery Court, Tenn.) (national class of six million owners

18    of property with defective polybutylene plumbing systems); In re Louisiana-Pacific Inner-Seal

19    Litigation, No. 95-cv-879 (D. Oregon) (co-lead counsel) (national class of homeowners with

20    defective siding); ABS Pipe Litigation, Cal. Judicial Council Coordination Proceeding No. 3126

21    (Contra Costa County) (national class of homeowners).

22            20.      In 1997, Mr. Ram founded Levy, Ram & Olson which became Ram & Olson and

23    then Ram, Olson, Cereghino & Kopczynski. He was co-lead counsel in many consumer class

24    actions including a national class of half a million owners of dangerous glass pane gas fireplaces

25    in Keilholtz et al. v. Superior Fireplace Company, No. 08-cv-00836 (N.D. Cal. 2008). He was co-

26    lead counsel for plaintiffs in Chamberlan v. Ford Motor Company, No. 03-cv-2628 (N.D. Cal.), a

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1     class action involving defective intake manifolds that generated four published opinions, including

2     one by the Ninth Circuit, 402 F.3d at 950, and settled one court day before the class trial. He was

3     also co-counsel for plaintiffs in a number of other consumer class actions, including Falk v GM

4     496 F. Supp. 2d 1088 (2007) which became In re General Motors Corp. Product Liability Lit.

5     MDL. No. 1896 (W.D. Wash.); Richison v. American Cemwood Corp., San Joaquin Superior Court

6     Case No. 005532; Williams v. Weyerhaeuser, San Francisco Superior Court Case No. 995787;

7     Naef v. Masonite, Mobile County, Alabama Circuit Court Case No. CV-94-4033; Hanlon v.

8     Chrysler Corp., 150 F.3d 1011 (9th Cir. 1998); McAdams v. Monier, Inc. (2010) 182 Cal. App.

9     4th 174 (reversing denial of class certification in consumer class action); Gardner v. Stimson

10    Lumber Co. (King County Wash. No. 2-17633-3-SEA); Rosenberg v. U-Haul (Santa Cruz

11    Superior Ct. No. CV-144045 (certified consumer class action for false and deceptive conduct; tried

12    successfully to judgment); In re Google Buzz User Privacy Litigation, No. 10-cv-00672-JW (N.D.

13    Cal. 2011) (international class action settlement for false and deceptive conduct); Whitaker v.

14    Health Net of California, Inc., and International Business Machines Corp, No. 2:11-cv-0910 KJM

15    DAD (E.D. Cal.) (electronic privacy class action under the California Confidentiality of Medical

16    Information Act); and Milligan v. Toyota Motor Sales, U.S.A., Inc., United States District Court,

17    N.D. Cal. Case No. C09-05418-RS; In re Kitec Plumbing System Products Liab. Litigation MDL

18    No 2098, N.D. Texas, No. 09-MD-2098; and Ehret v. Uber Techs., Inc., 148 F. Supp. 3d 884 (N.D.

19    Cal. Judge Chen).

20            21.      From 2017 to 2020, Mr. Ram was a partner at Robins Kaplan LLP. In August, 2020,

21    Mr. Ram joined Morgan & Morgan to open the San Francisco office. He is currently co-lead

22    counsel in numerous consumer class actions, including Gold v. Lumber Liquidators, N.D. Cal. No.

23    14-cv-05373-RS, a certified multistate class action involving bamboo floors, and Fowler v. Wells

24    Fargo, N.D. Cal. No. 3:17-cv-02092-HSG, a class action involving interest charges that settled for

25    $30 million. In addition, he is also currently serving on the Plaintiffs’ Steering Committee in the

26    In re Philips CPAP MDL Litigation, where he is co-chair of the Law and Briefing Committee.

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1              22.      Keith Mitnik. Mr. Mitnik is senior trial counsel for Morgan & Morgan. He has been

2     trying civil jury trials since being admitted to the Florida Bar in 1984. In his position at Morgan &

3     Morgan, all he does is try cases that others have worked up. He averages more than one jury trial

4     per month and has kept up that pace for many years. He tries every kind of civil jury trial for the

5     plaintiff’s side as first chair, including class actions, product liability, medical malpractice,

6     personal injury, premises liability, defamation. He has tried multiple suits against cigarette

7     companies (RJ Reynolds and Phillip Morris). He also tries many commercial litigation jury trials.

8     He has taken on CNN and Time Magazine in a landmark defamation case in Washington DC.

9     Shortly before Covid slowed things down, he tried a class action case in Chicago involving

10    testosterone supplements. Even with Covid interfering with trials in the last year, Keith has tried

11    8 jury trials and is set to try several more before the end of the year. He recently finished a 5-week

12    trial in California against Union Pacific Railroad. Before that, he tried a case against Major League

13    Baseball in NYC over a licensing agreement. He is lead Trial Counsel for the first class action trial

14    involving Juul E-Cigarettes against Phillip Morris. He has tried approximately 200 jury trials. He

15    tries cases all over the country. When not in trial, Mr. Mitnik teaches trial advocacy. He has been

16    the featured speaker for plaintiffs lawyers’ associations in many states. Most recently he was a

17    featured speaker in San Diego at what was reported to be the largest plaintiffs lawyers’ seminar in

18    history, with thousands in attendance. He is a bestselling author on trial skills. His two books are:

19    Don’t Eat the Bruises and Deeper Cuts (the latter being released earlier this month).

20             23.      Jean Sutton Martin. Ms. Martin presently serves by appointment as interim co-

21    lead counsel in Combs, et al. v. Warner Music Group, Case No. 1:20-cv-07473-PGG (S.D.N.Y.),

22    In re Morgan Stanley Data Security Litigation, 1:20-cv-05914 (S.D.N.Y.) (final approval granted

23    for $68 million settlement for 15 million class members); and In Re: Ambry Genetics Data Breach

24    Litigation, No. 20-cv-00791 (C.D. Cal.) (final approval granted for $12.25 million settlement).

25    She also serves as a member of the Plaintiffs’ Steering Committee for the cases proceeding against

26    LabCorp, Inc. in In re: American Medical Collection Agency Data Breach Litigation, 19-md-2904

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1     (D. N.J.). She is a member of the Plaintiffs’ Steering Committee in In re: Smith & Nephew

2     Birmingham Hip Resurfacing (BHR) Hip Implant Products Liability Litigation, No. 17-md-2775

3     (D. Md.); and In re: Allergan Biocell Textured Breast Implant Products Liability Litigation, No.

4     19-md-2921 (D. N.J).

5              24.      In a case in which she serves as interim co-lead counsel, Ms. Martin argued a

6     motion for class certification which resulted in the first order in the country granting Rule 23(b)(3)

7     certification in a consumer payment card data breach. In re Brinker Data Incident Litigation, No.

8     3:18-CV-686-TJC-MCR, 2021 WL 1405508 (M.D. Fla. Apr. 14, 2021). That Rule 23(b)(3)

9     certification was recently affirmed in part. Green-Cooper v. Brinker Int’l., Inc., --- F.4th ---, 2023

10    WL 4446420 (11th Cir. July 11, 2023).

11             25.      She has served in leadership positions in many consumer class actions and

12    consolidated proceedings in federal courts around the country, including inter alia: Aguallo, et al.

13    v. Kemper Corp., et al., Case No.: 1:21-cv-01883 (N.D. Ill.) (data breach settlement valued at over

14    $17.5 million) (co-lead counsel); Gordon, et al. v. Chipotle Mexican Grill, Inc., No. 17-cv-01415

15    (D. Colo.) (data breach) (co-lead counsel); Linnins v. HAECO Americas, Inc., et al., No. 16-cv-

16    486 (M.D.N.C.) (employee data disclosure) (co-lead counsel); Torres v. Wendy’s International,

17    LLC, No. 6:16- cv-210 (M.D. Fla.) (data breach) (class counsel); Fuentes, et al. v. UniRush, LLC,

18    et al., No. 1:15- cv-08372 (S.D.N.Y.) (disruption in servicing of financial accounts) (co-lead

19    counsel); Lewis, et al., v. Green Dot Corp., et al., No. 2:16-cv-03557 (C.D. Cal.) (disruption in

20    servicing of financial accounts) (class counsel); Brady, et al. v. Due North Holdings, LLC, et al.,

21    No. 1:17-cv-01313 (S.D. Ind.) (employee data disclosure) (class counsel); Foreman v. Solera

22    Holdings, Inc., No. 6:17-cv-02002 (M.D. Fla.) (employee data disclosure) (class counsel); In Re:

23    Outer Banks Power Outage Litigation, No. 4:17-cv-141 (E.D.N.C.) (extended island power outage

24    due to defective construction practices) (class counsel); and McCoy v. North State Aviation, LLC,

25    et al., No. 17- cv-346 (M.D.N.C.) (WARN Act violations) (class counsel).

26             26.      In addition to consumer class actions, Ms. Martin has practiced in the areas of mass

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1     tort and catastrophic personal injury litigation. Prior to joining Morgan and Morgan, Ms. Martin

2     ran her own law firm concentrating in consumer class actions and mass tort litigation. She also has

3     served as an adjunct professor at Wake Forest University School of Law.

4              27.      Ms. Martin received her Juris Doctor degree from Wake Forest University School

5     of Law in 1998, where she served as Editor-in-Chief of the Wake Forest Law Review. She obtained

6     eDiscovery certification from the eDiscovery Training Academy at Georgetown Law Center in

7     2017. Ms. Martin graduated from Wake Forest University with a Bachelor of Science in

8     Mathematical Economics in 1989. She earned a Master of International Business from the

9     University of South Carolina in 1991.

10             28.      Ms. Martin has been honored with the prestigious “AV” rating by Martindale-

11    Hubbell. In 2016, Ms. Martin was selected by her peers as the foremost Litigation attorney in the

12    State of North Carolina for Business North Carolina Magazine’s Legal Elite, gaining membership

13    in the Legal Elite Hall of Fame. In 2015, she was inducted as a Fellow of the Litigation Counsel

14    of America, a prestigious trial lawyer honorary society comprised of less than one-half of one

15    percent of American lawyers. Fellows are selected based upon excellence and accomplishment in

16    litigation, both at the trial and appellate levels, and superior ethical reputation. For upholding the

17    highest principles of the legal profession and for outstanding dedication to the welfare of others,

18    Ms. Martin has also been selected as a Fellow of the American Bar Foundation, an honorary legal

19    organization whose membership is limited to one third of one percent of lawyers in each state.

20    Since 2012, she has been selected to the Super Lawyers list for North Carolina in the areas of mass

21    torts and class actions, with repeated selection to the Top 50 Women North Carolina list since

22    2014. Additionally, Ms. Martin has been named by National Trial Lawyers to the Top 100 Trial

23    Lawyers, Top 50 Class Action Lawyers, and Top 50 Mass Torts Lawyers for North Carolina.

24             29.      Before entering law school, Ms. Martin worked with the sales finance team of

25    Digital Equipment Company in Munich, Germany developing sales forecasts and pricing models

26    for the company’s expansion into the Eastern European market after the fall of the Berlin wall.

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1     She also worked as a practice management consultant for a physician consulting group and as a

2     marketing manager for an international candy manufacturer where her responsibilities included

3     product development, brand licensing, market research, and sales analysis.

4              30.      Ms. Martin is a member of the North Carolina bar, having been admitted in 1998.

5     She is also admitted to practice before the United States Supreme Court, the United States Court

6     of Federal Claims, the United States Court of Appeals for the Fourth Circuit, the Western, Middle,

7     and Eastern Districts of North Carolina, and the United States District Court of Colorado.

8              31.      Ryan J. McGee. Mr. McGee joined Morgan & Morgan’s Complex Litigation

9     Group in March 2018, and has since extensively practiced in the areas of privacy and consumer

10    protection class action litigation. His work since 2018 resulted in Law360 recognizing him as one

11    of only three Rising Stars in the area of cybersecurity and privacy for 2023. He has substantially

12    supported the following representative litigations resulting in the recovery of more than half a

13    billion dollars for consumers: Brown v. Google LLC, No. 4:20-cv-03664-YGR (N.D. Cal.); In re

14    Morgan Stanley Data Security Litigation, No. 20-cv-5914-AT (S.D.N.Y.); Adkins v. Facebook,

15    Inc., No. 3:18-cv-05982-WHA (N.D. Cal.); In Re: Ambry Genetics Data Breach Litigation, No.

16    20-cv-00791 (C.D. Cal.); Pfeiffer et al. v. RadNet, Inc., No. 2:20-cv-09553-RGK (C.D. Cal.); Ford

17    et al. v. [24]7.ai, Inc., No. 5:18-cv-02770-BLF (N.D. Cal.); In re Yahoo! Inc. Customer Data

18    Security Breach Litigation, No. 16-md-02752-LHK (N.D. Cal.); In re Equifax, Inc. Customer Data

19    Security Breach Litigation, No. 1:17-md-02800 (N.D. Ga.); In re: U.S. Office of Personnel

20    Management Data Security Breach Litigation, 1:15-mc-01394-ABJ (D.D.C.); Henderson v.

21    Kalispell Regional Healthcare, No. CDV-19-0761 (Montana Eighth Judicial Court – Cascade

22    County); Morrow v. Quest, No. 2:17-cv-0948 (CCC) (JBC) (D.N.J.); In re Google Plus Profile

23    Litigation, No. 5:18-cv-06164 EJD (N.D. Cal.); Stoll et al. v. Musculoskeletal Institute, Chartered

24    d/b/a Florida Orthopaedic Institute, No. 8:20-cv-01798-CEH (M.D. Fla.); and Kuss v. American

25    HomePatient, Inc., et al., No. 8:18-cv-02348 (M.D. Fla.).

26             32.      Mr. McGee’s experience in privacy litigation extends well beyond drafting

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1     pleadings, briefing legal disputes, and negotiating settlements. He has personally deposed dozens

2     of corporate representatives, software engineers, and cyber professionals in major privacy cases

3     such as Brown v. Google, Capital One, and Facebook. He has also deposed defense liability and

4     damages experts in these (and other) cases, and defended experts in those fields at deposition and

5     in Daubert hearings. Mr. McGee cross-examined two (of four) technical witnesses during the

6     hearing that resulted in the successful pursuit of multiple sanctions against Google.

7              33.      Mr. McGee studied business economics and history at the University of Florida,

8     where he was a teaching assistant for technology classes in the business school, then received his

9     law degree from Stetson University College of Law, where he was an editor on the Stetson Law

10    Review, a research assistant for antitrust and consumer protection laws, and a teaching assistant

11    for Stetson’s world renown trial advocacy program. He began his legal career as a state-appointed

12    prosecutor, where he tried over 50 jury trials to verdict, mostly felonies, as well as a special

13    prosecutor appointed to investigate and prosecute police officers’ deadly use-of-force and

14    corruption within various law enforcement agencies. He also served as a law clerk for two years

15    for the Honorable Elizabeth A. Kovachevich, the former Chief United States District Judge,

16    Middle District of Florida. Before joining Morgan & Morgan, His private practice involved

17    complex business disputes, antitrust, trade secret, data security, and class action investigations and

18    defense-side litigation in state and federal courts across the country.

19             34.      Mr. McGee was admitted to the Florida Bar in 2009 and is also admitted to practice

20    in the Northern, Middle, and Southern Districts of Florida, the District of Colorado, and the Ninth

21    Circuit Court of Appeals.

22             35.      Marie Noel Appel. Ms. Appel has dedicated her career to representing consumers

23    in both individual and class action cases involving claims under consumer protection laws and

24    other statutory and common law claims. She earned a B.A. in French from San Francisco State

25    University in 1992 and graduated from University of San Francisco School of Law in 1996, where

26    she served as an Associate Literary Editor of the University of San Francisco Maritime Law

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1     Journal.

2              36.      For most of her career, Ms. Appel has been in private practice litigating class claims

3     related to defective products, mortgage fraud/Truth in Lending violations, unfair business practices

4     relating to manufactured home sales, interest overcharges by the United States on military

5     veterans’ credit accounts, and statutory violations by the United States relating to offset of debts

6     beyond the limitations period.

7              37.      From 2012 to 2019, Ms. Appel left private practice to become the Supervising

8     Attorney of the Consumer Project at the Justice & Diversity Center of the Bar Association of San

9     Francisco which provides free legal services to low-income persons facing consumer issues.

10             38.      In April 2019, Ms. Appel returned to private practice as Counsel at Robins Kaplan,

11    LLP, then joined Morgan & Morgan in August 2020 where she focuses on class action litigation.

12             39.      In additional to her legal practice, Ms. Appel is an Adjunct Professor at Golden

13    Gate University School of Law in San Francisco where she teaches legal research and writing, and

14    from 2011 to 2018 supervised students at the Consumer Rights Clinic, in which students performed

15    legal work at the Justice & Diversity Center’s Consumer Debt Defense and Education Clinics.

16    Prior to joining the Justice & Diversity Center, Ms. Appel regularly provided pro bono assistance

17    for low-income consumers facing debt collection lawsuits, through the Justice & Diversity Center

18    in San Francisco which, on multiple years, designated her as one of the Outstanding Volunteers in

19    Public Service. Ms. Appel has also provided trainings to attorneys regarding consumer collection

20    defense and related matters, focusing recently on a state-wide training relating to representing low-

21    income individuals in lawsuits for unpaid back rent resulting during the COVID-19 pandemic.

22             40.      Ms. Appel is admitted to practice in the Ninth Circuit Court of Appeals, and United

23    States District Courts in the Central District of California; the Eastern District of California; the

24    Northern District of California; and the Southern District of California.

25             41.      Ra O. Amen. Mr. Amen was raised in both the California Bay Area and

26    Massachusetts. In 2005, Ra graduated from Stanford University with a B.A. in Economics. After

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1     graduating, Ra worked as a Peace Corps volunteer in Morocco teaching English as a second

2     language and business skills to local artisans. Before entering law school, Ra worked for several

3     years in education and in business development for a mobile technology startup. In 2017, he

4     obtained his Juris Doctor degree with Honors from Emory University School of Law. While at

5     Emory Law, he was a Managing Editor of the Bankruptcy Developments Journal, interned at a

6     consumer fraud law practice, and worked in-house with one of the globe’s leading metals

7     companies assisting in a diverse array of legal issues ranging from corporate restructuring to

8     international tax and contract disputes. Before joining Morgan & Morgan in 2020, Mr. Amen

9     worked at one of the nation’s largest defense law firms in the nation where he specialized in

10    representing clients in complex commercial, administrative, and ecclesiastical disputes. Ra was

11    admitted to the Georgia Bar in 2017.

12             42.      David Reign. Mr. Reign is the former Assistant Special Agent in Charge of the

13    Tampa FBI Field office, with nearly 25 years of investigative experience. He has investigated and

14    managed some of the FBI’s most complex white-collar crime cases, with an emphasis on health

15    care fraud, public corruption, and financial crimes. As Deputy Chief of the Enron Task Force, he

16    led a team of investigators and analysts in the successful investigation and prosecution of several

17    executives of the Enron Corporation. He received the Attorney General’s Award for Exceptional

18    Service for his work on the Enron matter.

19             43.      Morgan & Morgan, along with our co-counsel Boies Schiller Flexner LLP and

20    Susman Godfrey LLP have demonstrated a commitment to this case on behalf of Plaintiffs and the

21    Class they seek to represent, and will continue to advocate for Plaintiff and the Class and expend

22    the necessary resources to ensure a just result of them.

23    I declare under penalty of perjury under the laws of the United States of America that the foregoing is

24    true and correct. Executed this 20th day of July, 2023, at Tampa, Florida.

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                                                            /s/ John A. Yanchunis
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